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                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 STEPHANIE LUKIS, MANTAS
 NORVAISAS, and SHAWN BROWN,
 individually and on behalf of all others           Case No. 19-cv-4871
 similarly situated,
                                                    Honorable Gary Feinerman
                        Plaintiffs,

 v.

 WHITEPAGES, INC.,

                         Defendant.


                                      JOINT STATUS REPORT

       Pursuant to the Court’s January 27, 2022 Order (ECF 236), plaintiffs Stephanie Lukis,

Mantas Norvaisas, and Shawn Brown and defendant Whitepages, Inc. respectfully submit the

following Joint Status Report:

       1.      Since filing their last status report on January 24, 2022, the parties have continued

to work together drafting a formal written settlement agreement to be signed by all parties.

       2.      The settlement would be a global settlement resolving this case and Kolebuck-Utz

v. Whitepages Inc., No. 2:2021-cv-00053 (W.D. Wash.), a case that alleges similar claims against

Whitepages under Ohio law. If the settlement is finalized in a formal written settlement agreement

acceptable to and signed by all parties, it would include two separate settlement classes—an

Illinois settlement class and an Ohio settlement class.

       3.      Since filing their status report on January 27, the parties have made substantial

progress in finalizing their settlement agreement—however they require additional time to do so.

       4.      The parties are working toward filing a motion for preliminary approval of their

class action settlement within the next 21 days.
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       5.     The parties request that this case remain stayed while they undertake these efforts.

Dated: February 24, 2022                    Respectfully submitted,

                                            STEPHANIE LUKIS, MANTAS NORVAISAS,
                                            and SHAWN BROWN,

                                            By: /s/ Roberto Costales
                                            Roberto L. Costales, Esq.
                                            rlc@beaumontcostales.com
                                            William H. Beaumont, Esq.
                                            whb@beaumontcostales.com
                                            BEAUMONT COSTALES LLC
                                            107 W. Van Buren, Suite 209
                                            Chicago, Illinois 60605
                                            Tel: 773.831.8000

                                            Benjamin Richman
                                            brichman@edelson.com
                                            Ari Scharg
                                            ascharg@edelson.com
                                            EDELSON PC
                                            350 North Lasalle Street, 14th Floor
                                            Chicago, Illinois 60654
                                            Tel: 312.589.6370

                                            Philip L. Fraietta (Pro Hac Vice)
                                            pfraietta@bursor.com
                                            BURSOR & FISHER, PA
                                            888 Seventh Avenue
                                            New York, New York 10019
                                            Tel: 646.837.7150

                                            Attorneys for plaintiffs and the Putative Class

                                            -and-

                                            WHITEPAGES, INC.




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                                   /s/ Bryan K. Clark
                                   Blaine C. Kimrey
                                   Bryan K. Clark
                                   Jonathon P. Reinisch
                                   Vedder Price P.C.
                                   222 North LaSalle Street
                                   Chicago, Illinois 60601
                                   (312) 609-7500

                                   Attorneys for defendant Whitepages, Inc.




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on February 24, 2022, I caused to be electronically filed the foregoing

JOINT STATUS REPORT, which will be served electronically on all registered parties of

record.


                                           /s/ Roberto Costales




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